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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO
                               Bankruptcy Judge Sid Brooks

In re:                                           )
                                                 )                           Bankruptcy Case No.
LINDA SUZANNE RUSSELL,                           )                                13-26137-SBB
SS# XXX-XX-8419,                                 )                                    Chapter 13
                                                 )
Debtor.                                          )

                              ORDER IMPOSING SANCTIONS

       THIS MATTER comes before the Court on December 4, 2013 for a non-evidentiary
hearing regarding confirmation of the Debtor’s Chapter 13 Plan filed October 4, 2013 (Docket
#11) and the Objection thereto filed by the Chapter 13 Trustee on October 31, 2013 (Docket
#20). The Court, having reviewed the file, heard representations from counsel, and convened a
hearing,

       DOES FIND that notice of the plan confirmation hearing and related deadlines was
proper and sufficient. Nevertheless, counsel for the Debtor, Dustin Klein, did not appear at the
scheduled hearing or otherwise advise this Court as to hin non-appearance at this hearing.

       IT IS THEREFORE ORDERED that sanctions in the amount of $200.00 are hereby
imposed against Dustin Klein, counsel for the Debtor, for his failure to appear at the duly
scheduled hearing or otherwise advise the Court as to his non-appearance at the hearing. Said
sum shall be remitted directly to the Faculty of Federal Advocates on or before December18,
2013. Mr. Klein shall notify the Court, in writing, of his compliance with this Order and the
Judgment on or before December 18, 2013.

       IT IS FURTHER ORDERED that further failure to comply with, or otherwise respond to
this Order, or to appear at any future hearings, may result in further imposition of sanctions, if
warranted and appropriate.

         Dated this 4th day of December, 2013.

                                                     BY THE COURT:

                                                     ______________________________
                                                     Sidney B. Brooks,
                                                     United States Bankruptcy Judge
